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Via ECF April 25, 2025
Hon. Jeannette Vargas

eee MEMO ENDORSED
500 Pearl Street
New York, NY 10007

Re: Haggai etal. v. Kiswani et al., 25-civ-2400(JV)

Dear Judge Vargas,

I represent Defendants Cameron Jones and Maryam Alwan in the above-captioned
matter. I write on behalf of Mr. Jones and Ms. Alwan, and at the request of Defendant Mahmoud
Khalil, to respectfully request an extension of time for these Defendants to respond to the
Complaint. The aforementioned Defendants and Plaintiffs jointly propose the following
schedule:

Motions to dismiss: due by May 30, 2025.
Oppositions: due 45 days thereafter.
Replies: due 14 days after oppositions.

According to the docket, current deadlines for responsive pleadings are April 16 (Ms.
Alwan),! April 22 (Mr. Khalil), and April 29 (Mr. Jones). See ECF Nos. 11-13. This is

Defendants’ first request for an extension. No appearance is currently scheduled in this matter.

Thank you for your attention to this matter.

Respectfully submitted,
SO ORDERED:
/S/ Joseph Pace
/ J. PACE LAW, PLLC
“Y Lame Y Ad 30 Wall Street, 8th Floor

The/Honorable Jeannette A. Vargas New York, NY 10005

‘ei iees eles Gee a Tel: (917) 336-3948
Dated: April 39,2025 jpace@jpacelaw.com

Cc. Mahmoud Khalil (via counsel)

‘Although an April 11, 2025 docket entry reflects that a summons was executed as to Ms. Alwan
on March 26, 2025, Ms. Alwan contests that service was properly effected.
